    Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 1 of 51


                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


NELSON ARCE ET AL.                                                     CIVIL ACTION

VERSUS                                                                    No. 16-14003

LOUISIANA STATE ET AL.                                                     SECTION I


                      AMENDED ORDER AND REASONS 1

      When Nelson and Lazaro Arce decided to challenge the Louisiana criminal

justice system’s treatment of the deaf, the Court doubts that they anticipated having

to navigate through two of the murkiest waters in American law: federalism and

separation of powers.    Yet this case raises weighty questions about the federal

government’s authority to endow private citizens with the power to haul a State into

federal court without its consent, and about the powers of executive branch agencies

to authoritatively interpret federal statutes—and thus requires nothing less than a

deep plunge into both pools.

      The State of Louisiana, through the Department of Public Safety and

Corrections (“Louisiana”), moves for dismissal of Lazaro Arce’s claims against it on

the ground that neither Title II of the Americans with Disabilities Act (“Title II”) nor

§ 504 of the Rehabilitation Act of 1973 (“§ 504”) provides a cause of action based on

associational discrimination. 2 Louisiana also requests dismissal of plaintiffs’ Title II

claim on behalf of Nelson as barred by sovereign immunity—a request that the Court




1 This Amended Order and Reasons corrects a typographical error in the original
Order and Reasons.
2 R. Doc. No. 76.


                                           1
    Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 2 of 51


construes as a motion to dismiss for lack of subject matter jurisdiction. 3 See Cantu

Serv., Inc. v. Roberie, 535 Fed. App’x 342, 346 n.3 (5th Cir. 2013). Plaintiffs oppose

both moves. 4

       After considering the parties’ submissions and the applicable law, the Court

concludes that Lazaro’s claims against Louisiana warrant dismissal and that

plaintiffs’ Title II claim on behalf of Nelson may proceed.

                                           I.

       According to plaintiffs, Nelson Arce (“Nelson”) was a deaf individual whose

“express, preferred, and most effective means of communication” was American Sign

Language (“ASL”). 5 Nelson’s proficiency in written English was allegedly “limited.” 6

Lazaro Arce (“Lazaro”) is Nelson’s father. 7

       On February 9, 2015, Judge Michael Mentz of the Twenty Fourth Judicial

District Court in Jefferson Parish 8 sentenced Nelson to two years of active probation

and two years of inactive probation for a drug-related offense. 9 As a condition of his

probation, Judge Mentz ordered Nelson to enter and complete a Louisiana-approved

in-house substance abuse treatment program, and required Nelson to meet regularly

with his probation officer. 10




3 R. Doc. No. 85.
4 R. Doc. No. 78; R. Doc. No. 86.
5 R. Doc. No. 69, ¶ 1.
6 Id. ¶ 20.
7 Id. ¶ 1.
8 The Court takes judicial notice of the court on which Judge Mentz sits. See Division

F, The Twenty Fourth Judicial District Court, http://www.24jdc.us/judges/division-f/
(last visited Oct. 23, 2017).
9 R. Doc. No. 69, ¶¶ 1, 27.
10 Id. ¶¶ 27-28.


                                           2
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 3 of 51


       Plaintiffs allege that Nelson’s probation officer was aware that Nelson required

a sign language interpreter to effectively communicate, but never provided an ASL

interpreter during her meetings with Nelson. 11 Despite Nelson and Lazaro’s alleged

“repeated requests” for a qualified interpreter—one who could translate legal

terminology and concepts 12—the probation officer relied on Lazaro to interpret for

Nelson. 13

       Because his probation officer did not provide a qualified interpreter at their

meetings, Nelson was allegedly unaware of the full terms and conditions of his

probation. Thus, he did not know that “leaving [Louisiana] to attend drug treatment

as ordered by [Judge Mentz] was a violation of his probation.” 14

       When Nelson’s probation officer learned that Nelson had enrolled in a

California-based in-patient drug treatment program, she filed a motion to revoke

Nelson’s probation. 15 Judge Mentz granted the motion and sentenced Nelson to 90

days in the Jefferson Parish Correction Center (“JPCC”). 16         Nelson was then

incarcerated at JPCC from December 8, 2015, until March 7, 2016, during which time

JPCC inmates were allegedly entitled to two thirty-minute telephone conversations

per day. 17 JPCC did not have video phones, but did have a teletypewriter (“TTY”), 18

which is a device that enables deaf individuals to communicate by telephone. 19


11 Id. ¶¶ 30, 50.
12 See id. ¶ 57.
13 Id. ¶ 34.
14 Id. ¶ 38.
15 Id. ¶¶ 35-38.
16 Id. ¶ 39.
17 Id. ¶¶ 40-41.
18 Id. ¶¶ 41-42.
19 R. Doc. No. 42, at 3.


                                           3
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 4 of 51


       According to plaintiffs, JPCC officials either denied Nelson access to the TTY

machine or provided him access only once per day on a number of occasions. 20 All the

while, other JPCC inmates regularly received two thirty-minute telephone

conversations per day. 21

       Further, JPCC officials allegedly penalized Nelson twice during his

incarceration for violating the rules contained in “The Inmate Handbook”

(“Handbook”), which details the behavioral expectations for inmates incarcerated at

JPCC. 22      Despite an alleged request by Lazaro that a qualified interpreter

communicate the Handbook’s contents to Nelson in ASL, Nelson never received an

ASL interpretation of the Handbook and thus did not understand the Handbook’s

rules and regulations. 23 Plaintiffs allege that Nelson never learned which rule he

violated on one of the occasions that he was punished. 24

       Nelson was released from JPCC on March 7, 2016, and resumed meeting with

his probation officer. 25      Nelson’s probation officer continued to attempt to

communicate with Nelson either through Lazaro’s interpretations or written

English. 26     The probation officer allegedly suggested that it was Nelson’s

responsibility to secure a qualified interpreter for their meetings if he wanted one. 27




20 R. Doc. No. 69, ¶¶ 42-43.
21 Id.
22 Id. ¶¶ 44-45.
23 Id. ¶¶ 45, 47.
24 Id. ¶ 46.
25 Id. ¶¶ 48-49.
26 See id. ¶¶ 52, 57.
27 Id. ¶ 52.


                                           4
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 5 of 51


      In response to these events, Nelson and Lazaro brought this lawsuit against

numerous defendants, including Louisiana, alleging violations of Title II and § 504,

and seeking both injunctive relief and money damages. Since Nelson and Lazaro’s

initiation of the case, the Court has dismissed the claims against Jefferson Parish, 28

as well as the claims for injunctive relief. 29 Moreover, in light of Nelson’s death on

May 9, 2017, 30 the Court permitted Ana Christine Shelton (“Shelton”) to be

substituted in Nelson’s place in her capacity as the natural tutrix of Nelson’s two

surviving minor children and as the administratrix of Nelson’s estate. 31

                                          II.

                                          A.

      Rule 12(b)(1) of the Federal Rules of Civil Procedure provides for the dismissal

of an action where the court lacks subject matter jurisdiction over the action. “A case

is properly dismissed for lack of subject matter jurisdiction when the court lacks the

statutory or constitutional power to adjudicate the case.” Home Builders Ass’n of

Miss., Inc. v. City of Madison, Miss., 143 F.3d 1006, 1010 (5th Cir. 1998).

      Any party may object to the court’s subject matter jurisdiction “at any stage in

the litigation, even after trial and the entry of judgment.” Arbaugh v. Y & H Corp.,

546 U.S. 500, 506 (2006). So too may the court raise the issue on its own initiative.

Id. Indeed, the court has an “independent obligation” to ensure in every case that

subject matter jurisdiction exists. Hertz Corp. v. Friend, 559 U.S. 77, 94 (2010). If




28 R. Doc. No. 42.
29 R. Doc. No. 80.
30 R. Doc. No. 64.
31 R. Doc. No. 68.


                                          5
    Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 6 of 51


the court determines that subject matter jurisdiction over an action is lacking, then

the court must dismiss the action. Arbaugh, 546 U.S. at 514; see also Fed. R. Civ. P.

12(h)(3).

       A court may dismiss an action for lack of subject matter jurisdiction on any one

of three different bases: (1) the complaint alone; (2) the complaint supplemented by

undisputed facts in the record; or (3) the complaint supplemented by undisputed facts

plus the court’s resolution of disputed facts.” Clark v. Tarrant County, 798 F.2d 736,

741 (5th Cir. 1986) (citing Williamson v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981)).

Once the defendant has questioned the court’s subject matter jurisdiction, the

plaintiff bears the burden of “proving by a preponderance of the evidence that the

trial court does” possess the requisite jurisdiction to hear the case. Patterson v.

Weinberger, 644 F.2d 521, 523 (5th Cir. 1981).

       Where “a Rule 12(b)(1) motion is filed in conjunction with other Rule 12

motions, the court should consider the Rule 12(b)(1) jurisdictional attack before

addressing any attack on the merits.” Ramming v. United States, 281 F.3d 158, 161

(5th Cir. 2001). After all, “[f]or a court to pronounce upon [the merits] when it has no

jurisdiction to do so is, by very definition, for a court to act ultra vires.” Steel Co. v.

Citizens for a Better Env’t, 523 U.S. 83, 101-02 (1998).

                                            B.

       Under Rule 12(c) of the Federal Rules of Civil Procedure, a party may move for

judgment on the pleadings once the pleadings are closed, as long as the party moves

“early enough not to delay trial.” “A motion for judgment on the pleadings under Rule

12(c) is subject to the same standard as a motion to dismiss under Rule 12(b)(6).” Doe


                                            6
    Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 7 of 51


v. MySpace, Inc., 528 F.3d 413, 418 (5th Cir. 2008); see also Guidry v. Am. Pub. Life

Ins. Co., 512 F.3d 177, 180 (5th Cir. 2007) (applying Rule 12(b)(6) case law in the Rule

12(c) context).

       Thus, Rule 12(c)—like Rule 12(b)(6)—permits a court to dismiss a complaint,

or any part of it, where a plaintiff has not set forth well-pleaded factual allegations

that would entitle him to relief. See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555

(2007); Cuvillier v. Taylor, 503 F.3d 397, 401 (5th Cir. 2007). A plaintiff’s factual

allegations must “raise a right to relief above the speculative level.” Twombly, 550

U.S. at 555. In other words, a complaint “must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570)).

       A facially plausible claim is one where “the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. If the well-pleaded factual allegations “do not permit the

court to infer more than the mere possibility of misconduct,” then “the complaint has

alleged—but it has not ‘show[n]’—‘that the pleader is entitled to relief.’” Id. at 679

(quoting Fed. R. Civ. P. 8(a)(2)) (alteration in original).

       In evaluating a Rule 12(c) motion, a court—as in the Rule 12(b)(6) context—

limits its review “to the complaint, any documents attached to the complaint, and any

documents attached to the motion to dismiss that are central to the claim and

referenced by the complaint.” Lone Star Fund V (U.S.), L.P. v. Barclays Bank PLC,

594 F.3d 383, 387 (5th Cir. 2010). In assessing the complaint, the Court must accept

all well-pleaded factual allegations as true and liberally construe all such allegations


                                            7
       Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 8 of 51


in the light most favorable to the plaintiff. Spivey v. Robertson, 197 F.3d 772, 774

(5th Cir. 1999); Lowrey v. Tex. A&M Univ. Sys., 117 F.3d 242, 247 (5th Cir. 1997).

Where “the complaint ‘on its face show[s] a bar to relief,’” then dismissal is the

appropriate course. Cutrer v. McMillan, 308 Fed. App’x. 819, 820 (5th Cir. 2009)

(quoting Clark v. Amoco Prod. Co., 794 F.2d 967, 970 (5th Cir. 1986)).

                                          III.

         Louisiana moves for dismissal of plaintiffs’ Title II claims on the basis of

sovereign immunity. 32 Moreover, Louisiana moves for judgment on the pleadings as

to all of Lazaro’s claims. 33

         Resolution of the sovereign immunity question will involve addressing the

viability of Lazaro’s Title II claims. The Court therefore will structure its analysis

around the issue of sovereign immunity.

                                           A.

         The Eleventh Amendment provides that “[t]he Judicial power of the United

States shall not be construed to extend to any suit in law or equity, commenced or

prosecuted against one of the United States by Citizens of another State, or by

Citizens or Subjects of any Foreign State.”       Despite the Eleventh Amendment’s

language targeting discrete categories of Article III diversity jurisdiction, the

Supreme Court has fashioned a doctrine of Eleventh Amendment sovereign immunity

defined by reference to “the Constitution’s structure, its history, and the authoritative

interpretations by this Court.” Alden v. Maine, 527 U.S. 706, 713 (1999); see also




32   R. Doc. No. 85.
33   R. Doc. No. 76.
                                           8
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 9 of 51


Hans v. Louisiana, 134 U.S. 1, 13 (1890); cf. Meyers ex rel. Benzing v. Tex., 410 F.3d

236, 240-41 (5th Cir. 2005) (“‘Eleventh Amendment immunity’ is a misnomer, . . .

because that immunity is really an aspect of the Supreme Court’s concept of state

sovereign immunity and is neither derived from nor limited by the Eleventh

Amendment.”).

       Sovereign immunity operates as “a constitutional limitation on the federal

judicial power.” Pennhurst State School & Hosp. v. Halderman, 465 U.S. 89, 98

(1984).    However, unlike other aspects of the federal courts’ subject matter

jurisdiction, sovereign immunity is waivable: “a State may consent to suit against it

in federal court.” 34 Id. at 99.

       In addition, Congress may abrogate State sovereign immunity when exercising

at least some of its constitutional powers. See Fitzpatrick v. Bitzer, 427 U.S. 445, 456

(1976) (holding that Congress has the power to abrogate State sovereign immunity

under § 5 of the Fourteenth Amendment); but see Seminole Tribe of Fla. v. Fla., 517

U.S. 44, 72 (1996) (holding that Congress does not have the power to abrogate State

sovereign immunity under the Indian Commerce Clause). Abrogation requires “an

unequivocal expression of congressional intent to ‘overturn the constitutionally

guaranteed immunity of the several States.’” Pennhurst, 465 U.S. at 99. “A general

authorization for suit in federal court is not the kind of unequivocal statutory

language sufficient to abrogate the Eleventh Amendment.” Atascadero State Hosp.

v. Scanlon, 473 U.S. 234, 246 (1985), superseded by An Act to Extend and Improve




34As a general matter, Louisiana has not waived its sovereign immunity from suit in
federal court. See La. R.S. § 13:5106(A).
                                           9
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 10 of 51


the Rehabilitation Act of 1973, Pub. L. 99-506, 100 Stat. 1807 (1986). If Congress

wants to subject the several States to federal jurisdiction, then “it must do so

specifically.” 35 Id.

                                          B.

       The ADA is “a clear and comprehensive national mandate for the elimination

of discrimination against individuals with disabilities.” 42 U.S.C. § 12101(b)(1). “To

effectuate its sweeping purpose, the ADA forbids discrimination against disabled

individuals in major areas of public life, among them employment (Title I of the Act),

public services (Title II), and public accommodations (Title III).” PGA Tour, Inc. v.

Martin, 532 U.S. 661, 675 (2001).

       Importantly for present purposes, Congress “invoke[d] the sweep of

congressional authority, including the power to enforce the fourteenth amendment .

. ., in order to address the major areas of discrimination faced day-to-day by people

with disabilities.” 42 U.S.C. § 12101(b)(4). To that end, the ADA declares that “[a]

State shall not be immune under the eleventh amendment to the Constitution of the

United States from an action in Federal or State court of competent jurisdiction for a

violation” of the ADA.    Id. § 12202.    In 2001, the Fifth Circuit held that this


35Besides waiver and abrogation, the Supreme Court has also recognized that an
individual may bring certain kinds of federal claims directly against State officers in
their individual capacities and avoid the sovereign immunity bar. See Ex parte
Young, 209 U.S. 123, 155-56 (1908); see also Edelman, 415 U.S. at 676 (limiting Ex
parte Young actions to claims seeking prospective injunctive relief); Seminole Tribe,
517 U.S. at 75-76 (concluding Ex parte Young actions are not available where
Congress has established a remedial scheme to settle a particular claim, even if that
scheme is inoperable). In this case, Louisiana itself is a party. Unless Congress has
validly abrogated Louisiana’s sovereign immunity or Louisiana has unambiguously
waived its sovereign immunity with respect to Title II claims, plaintiff cannot assert
such claims against Louisiana in this Court. See Pennhurst, 465 U.S. at 98.
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     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 11 of 51


provision—although expressing Congress’s clear intent to abrogate State sovereign

immunity—did not validly do so with respect to Title II. Reickenbacker v. Foster, 274

F.3d 974, 975 (5th Cir. 2001), abrogated by Tennessee v. Lane, 546 U.S. 151 (2004).

       That holding, however, was itself abrogated by the Supreme Court. See United

States v. Georgia, 546 U.S. 151 (2006); Lane, 541 U.S. at 533-34. In other words,

Congress did validly abrogate State sovereign immunity under Title II—at least in

some cases:

       In United States v. Georgia, the Supreme Court established a three-part
       test for addressing whether Title II validly abrogates [S]tate sovereign
       immunity in a given case. A court should consider “which aspects of the
       State’s alleged conduct violated Title II” and then determine “to what
       extent such misconduct also violated the Fourteenth Amendment.” If
       the State’s conduct violated both Title II and the Fourteenth
       Amendment, Title II validly abrogates state sovereign immunity. If the
       State’s conduct violated Title II but did not violate the Fourteenth
       Amendment, the court must then determine “whether Congress’s
       purported abrogation of sovereign immunity as to that class of conduct
       is nevertheless valid.”

Hale v. King, 642 F.3d 492, 497-98 (5th Cir. 2011) (quoting Georgia, 546 U.S. at 159).

       Thus, a court first subjects a plaintiff’s allegations to the familiar Rule 12(b)(6)

standard. Id. at 498. Where the allegations state a claim under Title II, but not

under the Fourteenth Amendment, a court must then consider whether Congress’s

abrogation of State sovereign immunity in a particular case exhibits “congruence and

proportionality between the injury to be prevented or remedied and the means

adopted to that end.” 36 City of Boerne v. Flores, 521 U.S. 507, 520 (1997); see also

Wells v. Thaler, 460 Fed. App’x 303, 311 (5th Cir. 2012) (per curiam).


36
  “Congress’ power ‘to enforce’ the [Fourteenth] Amendment includes the authority
both to remedy and to deter violation of rights guaranteed thereunder by prohibiting
a somewhat broader swath of conduct, including that which is not itself forbidden by
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    Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 12 of 51


                                            IV.

       The Court will first consider “which aspects of the State’s alleged conduct

violated Title II.” 37 Hale, 642 F.3d at 498 (quoting Georgia, 546 U.S. at 159) (internal

quotation marks omitted). As a general matter, a viable Title II requires a plaintiff

to allege “(1) that he has a qualifying disability; (2) that he is being denied the benefits

of services, programs, or activities for which the public entity is responsible, or is

otherwise discriminated against by the public entity; and (3) that such discrimination

is by reason of his disability.” Id. at 499; see also 42 U.S.C. § 12132.

       As far as which aspects of Louisiana’s alleged conduct toward Nelson violated

Title II for purposes of the Georgia analysis, the parties are in unison: the decision

by Nelson’s probation officer not to procure the services of a qualified ASL interpreter

for her meetings with Nelson. 38 When it comes to which aspects of Louisiana’s alleged




the Amendment’s text.” Bd. of Trustees of the Univ. of Ala. v. Garrett, 531 U.S. 356,
365 (2001) (quoting Kimel v. Fla. Bd. of Regents, 528 U.S. 62, 81 (2000)). “In other
words, Congress may enact so-called prophylactic legislation that proscribes facially
constitutional conduct, in order to prevent and deter unconstitutional conduct.”
Nevada Dep’t of Human Res. v. Hibbs, 538 U.S. 721, 727-28 (2003).
37 In Hale v. King, 642 F.3d 492 (5th Cir. 2011), the Fifth Circuit observed that “[i]t

is unclear whether, under Georgia, a court is required to determine if allegations state
a claim for relief under Title II before proceeding to consider any other issue in the
three-part analysis.” 642 F.3d at 498. The Hale Court then expressly declined to
decide “whether Georgia prohibits a court from addressing the validity of Title II’s
abrogation of state sovereign immunity without first deciding that a claimant’s
allegations actually state a claim for relief under Title II.” Id.
       For its part, the Court will follow the safest path and proceed through the steps
of the relevant analysis in the order outlined in Georgia.
38 See R. Doc. No. 85, at 3; R. Doc. No. 86, at 6. As the parties only identify this

particular conduct by Louisiana as violative of Nelson’s Title II rights, the Court
considers any argument that other conduct by Louisiana toward Nelson violated Title
II to be waived. Cf. Al-Ra’id v. Ingle, 69 F.3d 28, 33 (5th Cir. 1995) (concluding that
the appellant “has effectively abandoned his claim by failing to brief it”).
                                            12
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 13 of 51


conduct toward Lazaro violated Title II, however, the parties could not be farther

apart.

         Lazaro—who is not deaf or otherwise alleged to have a “qualifying disability”—

offers a theory of Title II (and § 504) liability based on the concept of associational

discrimination. In a nutshell, Lazaro alleges that Louisiana discriminated against

him on the basis of his association with Nelson and because of Nelson’s “qualifying

disability.” 39

         For its part, Louisiana argues that Title II (and § 504) does not permit

associational discrimination claims, relying almost exclusively on a recent opinion

out of the Northern District of Georgia. 40         Acknowledging that a regulation

promulgated by the Attorney General to implement Title II recognizes such claims, 41

see 28 C.F.R. § 35.130(g), Louisiana contends that the regulation is unlawful.42

Finally, in the alternative, Louisiana argues that Lazaro has failed to state a claim

of associational discrimination against Louisiana under Title II (or § 504). 43

         Where, as here, an executive agency’s regulation interpreting a federal statute

is called into question, the Supreme Court has instructed courts to analyze the

interpretation’s permissibility through the lens of what may amount to

administrative law’s most consequential—and controversial 44—doctrine: Chevron.


39 See R. Doc. No. 78, at 9-11.
40 See R. Doc. No. 76-1, at 3-6 (discussing Todd v. Carstarphen, 236 F. Supp. 3d 1311
(N.D. Ga. 2017)).
41 Congress delegated the responsibility to promulgate regulations implementing

Title II to the Attorney General. See 42 U.S.C. § 12134(a).
42 See R. Doc. No. 76-1, at 6.
43 See id. at 7.
44 See, e.g., Gutierrez-Brizuela v. Lynch, 834 F.3d 1142, 1149-58 (10th Cir. 2016)

(Gorsuch, J., concurring) (“[T]he fact is Chevron and Brand X permit executive
                                           13
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 14 of 51


                                           A.

      Under Chevron, U.S.A., Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837

(1984), a court confronts two questions when reviewing an agency’s regulation

implementing a statute that it administers. 45 467 U.S. at 842. “First, always, is the

question whether Congress has directly spoken to the precise question at issue.” Id.

“If the intent of Congress is clear, that is the end of the matter; for the court, as well

as the agency, must give effect to the unambiguously expressed intent of Congress.”

Id. at 842-43.

      To discern congressional intent, courts often rely “solely on the language of the

statute.” In re Settoon Towing, L.L.C., 859 F.3d 340, 351 (5th Cir. 2017). Indeed,



bureaucracies to swallow huge amounts of core judicial and legislative power and
concentrate federal power in a way that seems more than a little difficult to square
with the Constitution of the framers’ design.”); Brett M. Kavanaugh, Fixing Statutory
Interpretation, 129 Harv. L. Rev. 2118, 2151 (2016) (“We must recognize how much
Chevron invites an extremely aggressive executive branch philosophy of pushing the
legal envelope (a philosophy that, I should note, seems present in the administrations
of both political parties).”).
45 “[A]dministrative implementation of a particular statutory provision qualifies for

Chevron deference when it appears that Congress delegated authority to the agency
generally to make rules carrying the force of law, and that the agency interpretation
claiming deference was promulgated in the exercise of that authority.” United States
v. Mead, 533 U.S. 218, 226-27 (2001). “Delegation of such authority may be shown in
a variety of ways, as by an agency’s power to engage in adjudication or notice-and-
comment rulemaking, or by some other indication of a comparable congressional
intent.” Id. at 227. Further, “[w]here the agency has not used a deliberative process
such as notice-and-comment rulemaking, or where the process by which the agency
reached its interpretation is unclear, the court cannot presume Congress intended to
grant the interpretation the force of law.” Freeman v. Quicken Loans, Inc., 626 F.3d
799, 805 (5th Cir. 2010).
       In this case, the parties do not dispute that the Attorney General possesses
authority to issue regulations carrying the force of law and that the Title II regulation
at issue represents an exercise of that authority via notice-and-comment rulemaking.
See Nondiscrimination on the Basis of Disability in State and Local Government
Services, 56 Fed. Reg. 35694, 35694-95 (July 26, 1991) (explaining the relevant
rulemaking history).
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   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 15 of 51


“plain statutory language is the most instructive and reliable indicator of

Congressional intent.” Martinez v. Mukasey, 519 F.3d 532, 543 (5th Cir. 2008); see

also Bank One Chicago, N.A. v. Midwest Bank & Trust Co., 516 U.S. 264, 283 (1996)

(Scalia, J., concurring in part and concurring in the judgment) (“The text’s the

thing.”). Thus, “[i]f the statute’s language is unambiguous,” then the “plain language”

controls “absent some resulting absurdity.” Id. at 345. Courts do not examine text

outside of context, however; a statute is read “as a whole,” and an interpreter must

remain “mindful of the linguistic choices made by Congress.” Whatley v. Resolution

Trust Co., 32 F.3d 905, 909 (5th Cir. 1994).

      Where a court concludes that “Congress has not directly addressed the precise

question at issue,” then it “does not simply impose its own construction on the statute,

as would be necessary in the absence of an administrative interpretation.” Chevron,

467 U.S. at 843. “Rather, if the statute is silent or ambiguous with respect to the

specific issue, the question for the court is whether the agency’s answer is based on a

permissible construction of the statute.” Id. “[A] court may not substitute its own

construction of a statutory provision for a reasonable interpretation made by the

administrator of an agency.” Id. at 844.

                                           B.

      The Title II regulation challenged by Louisiana states: “A public entity shall

not exclude or otherwise deny equal services, programs, or activities to an individual

or entity because of the known disability of an individual with whom the individual

or entity is known to have a relationship or association.” 28 C.F.R. § 35:130(g).




                                           15
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 16 of 51


Whether this regulation is consistent with Title II is the question to which the Court

will now turn.

                                           i.

      The Court will begin, as it must, with the statutory text. Title II provides that

“no qualified individual with a disability shall, by reason of such disability, be

excluded from participation in or be denied the benefits of the services, programs, or

activities of a public entity, or be subjected to discrimination by any such entity.” 42

U.S.C. § 12132. Title II defines a “qualified individual with a disability” as “an

individual with a disability who, with or without . . . the provision of auxiliary aids

and services, [among other things,] meets the essential eligibility requirements for

the receipt of services or the participation in programs or activities provided by a

public entity.” Id. § 12131(2).

      In other words, Title II’s nondiscrimination provision protects a specific and

discrete class of individuals against discrimination by public entities: those with a

disability. Discrimination against a nondisabled individual by a public entity due to

his association with a disabled individual does not run afoul of the provision’s plain

language. See A Helping Hand, LLC v. Baltimore Cty., Md., 515 F.3d 356, 363 (4th

Cir. 2008) (recognizing that “Title II contains no express right to be free from

discrimination because of association with qualified individuals with disabilities”).

      Title II further provides that its “remedies, procedures, and rights” are

available to “any person alleging discrimination on the basis of disability in violation

of” Title II’s nondiscrimination provision. Id. § 12133. Of course, only discrimination

by a public entity against a “qualified individual with a disability” may result in a


                                          16
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 17 of 51


violation of said provision. Id. § 12132; see Lightbourn v. Cty. of El Paso, Tex., 118

F.3d 421, 428 (5th Cir. 1997) (interpreting Title II’s nondiscrimination provision to

require Title II plaintiffs to demonstrate, among other things, “that they are qualified

individuals within the meaning of” Title II). Thus, a nondisabled person—who is

textually foreclosed from personally experiencing a form of discrimination that

violates Title II’s nondiscrimination provision—would seem equally foreclosed from

pursuing Title II’s “remedies, procedures, and rights.” 46 42 U.S.C. § 12133.

       Notwithstanding, a number of circuits have interpreted Title II to permit at

least some organizations (or their operators) that experience discrimination by public

entities due to their association with “qualifying individual[s] with a disability” to

seek redress under Title II. See Innovative Health Sys., Inc. v. City of White Plains,

117 F.3d 37, 47 (2d. Cir. 1997) (concluding that a drug- and alcohol-rehabilitation

treatment center has standing to sue under Title II), recognized as superseded on

other grounds, Zervos v. Verizon N.Y., Inc., 252 F.3d 163, 171 n.7 (2d Cir. 2001);

Addiction Specialists, Inc. v. Township of Hampton, 411 F.3d 399, 405-07 (3rd Cir.

2005) (same for the operator of a methadone clinic); A Helping Hand, 515 F.3d at 363

(same for the operator of a methadone clinic); see also MX Grp., Inc. v. City of

Covington, 293 F.3d 326, 335 (6th Cir. 2002) (adopting the relevant reasoning in


46 Background principles of Article III standing inform the Court’s understanding of
the constitutional scope of Title II’s enforcement provision. One component of
constitutional standing is the “concrete injury requirement,” which mandates that
the injury sued upon be both “concrete and particularized.” Lujan v. Defenders of
Wildlife, 504 U.S. 555, 560, 578 (1992). “[T]he party seeking review [must] be himself
among th[ose] injured” by a public entity’s conduct. Id. at 563 (quoting Sierra Club
v. Morton, 405 U.S. 727, 735 (1972)) (internal quotation marks omitted). Thus, the
person “alleging discrimination” must have experienced discrimination. 42 U.S.C. §
12133.
                                          17
      Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 18 of 51


Innovative Health as “persuasive” in the context of an entity seeking to open a

methadone clinic). In reaching this conclusion, these courts—like plaintiffs 47—hone

in on the phrase “any person alleging discrimination on the basis of disability,” with

a particular emphasis on “any person.” 42 U.S.C. § 12133; see also 1 U.S.C. § 1 (“In

determining the meaning of any Act of Congress, unless the context indicates

otherwise . . . the words ‘person’ and ‘whoever’ include corporations, companies,

associations, firms, partnerships, societies, and joint stock companies, as well as

individuals . . . .”).

         “Read naturally, the word ‘any’ has an expansive meaning, that is, ‘one or some

indiscriminately of whatever kind.’” United States v. Gonzales, 520 U.S. 1, 5 (1997)

(quoting Webster’s Third New International Dictionary 97 (1976)). Notwithstanding

a word’s isolated meaning, however, one does not interpret a text with any degree of

accuracy by limiting the interpretive enterprise to myopic examination of each of the

text’s individual constituent words. See Roberts v. Sea-Land Serv., Inc., 566 U.S. 93,

101 (2012) (“Statutory language . . . cannot be construed in a vacuum.” (internal

quotation marks omitted)). Instead, one must heed the particular combination of

words selected by the author, whether an individual or group of individuals. In short,

context matters. See Watson v. Philip Morris Companies, Inc., 551 U.S. 142, 147

(2007) (observing that “broad language is not limitless” and that “a liberal

construction nonetheless can find limits in a text’s language, context, history, and

purposes”); Food & Drug Admin. V. Brown & Williamson Tobacco Corp., 529 U.S.

120, 133 (2000) (“It is a fundamental canon of statutory construction that the words


47   See R. Doc. No. 78, at 6-7.
                                            18
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 19 of 51


of a statute must be read in their context and with a view to their place in the overall

statutory scheme.” (internal quotation marks omitted)).

      With two eyes on context, the breadth of “any” as used in Title II seems as clear

as crystal: “any” is explicitly limited to “person[s] alleging discrimination on the basis

of disability in violation of” Title II’s nondiscrimination provision.” 42 U.S.C. § 12133

(emphasis added); cf. Gonzales, 520 U.S. at 5 (interpreting 18 U.S.C. § 924(c)(1), and

distinguishing between a phrase that explicitly limits the breadth of the word “any”

and a phrase that does not). Thus, the plain language of Title II seems to reserve the

keys to the remedial kingdom for plaintiffs alleging both 1) “discrimination on the

basis of disability” and 2) “discrimination . . . in violation of” Title II’s

nondiscrimination provision.” 42 U.S.C. § 12133. While the former requirement is

broad enough to encompass associational discrimination—which is based on

disability—the latter requirement is not.

      Looking beyond the four corners of Title II’s text, some circuits have also

considered Title II’s legislative history as relevant to interpreting the statute’s scope.

See, e.g., Innovative Health, 117 F.3d at 47; A Helping Hand, 515 F.3d at 364. This

nontextual evidence suggests that at least some of the legislators involved in drafting

Title II intended that Title II cover all forms of discrimination prohibited under Titles

I and III of the ADA. See, e.g., H.R. Rep. 101-485(II), at 84 (May 15, 1990). Titles I

and III’s nondiscrimination provision—both of which prohibit discrimination against

individuals “on the basis of disability,” as opposed to individuals “with a disability”—




                                            19
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 20 of 51


each explicitly prohibit discrimination by association. 48 See 42 U.S.C. § 12111(a),

(b)(4) (Title I); id. § 12182(a), (b)(1)(E) (Title III); cf. id. §12132 (Title II).

       Yet despite what may be gleamed from congressional records that were not

subjected to the rigors of bicameralism and presentment, see U.S. Const. art. I, § 7 cl.

1-2, “[w]here the statute is so lucid, we need not look to the legislative history for

further guidance.” Phillips v. Marine Concrete Structures, Inc., 895 F.2d 1033, 1035

(5th Cir. 1990).     Such appears to be the case with Title II, which provides a

“straightforward statutory command” that the Court need only follow. Gonzales, 520

U.S. at 6.

       Further, even accepting as sound the conclusion that at least some

organizations may sue under Title II, the organizations involved as plaintiffs in the

relevant cases provided treatment services to individual persons suffering from

alcoholism and drug addiction. See Innovative Health, 117 F.3d at 37; Addiction

Specialists, 411 F.3d at 399; A Helping Hand, 515 F.3d at 356; MX Grp., 293 F.3d at

326.    Such individuals may—indeed, some unquestionably do—fall within the




48 Louisiana makes much of the fact that Titles I and III explicitly prohibit
associational discrimination, while Title II does not, reasoning that the Court should
treat Congress’s exclusion of an explicit prohibition on associational discrimination
in Title II as an intentional choice. See R. Doc. No. 76-1, at 4-5. The primary case on
which Louisiana relies, Todd v. Carstarphen, 236 F. Supp. 3d 1311 (N.D. Ga. 2017),
makes the same point. See 236 F. Supp. 3d at 1339-40.
       However, Title II does not mirror the structures of Titles I and III. Whereas
Titles I and III include extensive rules of construction to explain the scopes of their
general nondiscrimination prohibitions, Title II simply includes a general
nondiscrimination prohibition. This structural distinction between Titles I and II on
the one hand, and Title II on the other, is significant and ultimately precludes the
inference suggested by Louisiana. Cf. Innovative Health, 117 F.3d at 47 (“Congress
surely did not intend to excuse similar discriminatory conduct by a public entity
simply because such conduct is not spelled out in Title II.”).
                                               20
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 21 of 51


protective auspices of the ADA.        See 42 U.S.C. § 12102(1) (defining the term

“disability” in the ADA); Reg’l Econ. Cmty. Action Program, Inc. v. City of Middletown,

294 F.3d 35, 46 (2d Cir. 2002) (observing that alcoholism and drug addiction

constitute “impairment[s]” under the ADA’s definition of “disability”), superseded by

statute on other grounds, ADA Amendments of 2008, Pub. L. No. 110–325, 122 Stat.

3553; MX Grp., 293 F.3d at 336 (same); see also Title II Technical Assistance Manual,

The American with Disabilities Act, https://www.ada.gov/taman2.html.

      In this case, however, a nondisabled individual—Lazaro—is asserting a claim

of associational discrimination under Title II.          This breed of associational

discrimination claim seems materially distinct from such claims asserted by the

organizations.    After all, the discrimination that these organizations allegedly

experienced at the hands of public entities—such as the use of local zoning laws to

prevent a methadone clinic from operating within city limits, MX Grp., 293 F.3d at

328—likewise discriminated against a class of Title II-protected disabled individuals

by erecting barriers to access to treatment facilities for such individuals “by reason

of [their] disability,” see 42 U.S.C. § 12132.

      Thus, blessing these organizations’ associational discrimination claims under

Title II was a direct means to vindicate the rights of “individual[s] with a disability.”

Id. An individual associational discrimination claim may also vindicate disabled

individuals’ rights, but the vindication seems more attenuated. Individual claims

seem primarily designed to vindicate the interest of the individual asserting it—and

as a nondisabled individual, Lazaro’s interests seem beyond Title II’s concern.




                                            21
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 22 of 51


       At least one circuit seems to have endorsed the availability under Title II of

individual associational discrimination claims of the type brought by Lazaro. In

McCullum v. Orlando Regional Healthcare System, Inc., 768 F.3d 1135 (11th Cir.

2014), nondisabled individuals brought associational discrimination claims against

two hospitals under both Title II and Title III of the ADA. See 768 F.3d at 1140; see

also McCullum v. Orlando Reg’l Healthcare Sys., Inc., No. 11-1387, R. Doc. No. 1-2

(M.D. Fla. Aug. 18, 2011) (complaint). The district court dismissed the claims. See

McCullum, 768 F.3d at 1141; see also McCullum, No. 11-1387, R. Doc. No. 24 (M.D.

Fla. Nov. 8, 2011) (Presnell, J.) (order).

       On appeal, the Eleventh Circuit first opined that “[i]t is widely accepted that

under both the [Rehabilitation Act of 1973] and the ADA, non-disabled individuals

have standing to bring claims when they are injured because of their association with

a disabled person.” McCullum, 768 F.3d at 1142. With respect to the ADA, the

Eleventh Circuit exclusively supported this proposition with citations to the same

Title II cases previously explored by the Court: cases involving organizations that

provide services to individuals protected by Title II. See id. at 1142 (citing Innovative

Health, 117 F.3d at 46-48; Addiction Specialists, 411 F.3d at 405-09; A Helping Hand,

515 F.3d at 362-64; MX Grp., 293 F.3d at 333-35).

       The Eleventh Circuit then went on to identify Title III’s explicit prohibition on

associational discrimination as “[t]he section of the ADA conferring standing on a

non-disabled party.”     Id.   When interpreting this provision of Title III as to

nondisabled individuals, however, the court again referenced cases in which other




                                             22
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 23 of 51


circuits recognized organizational standing to sue under Title II. Id. (citing A Helping

Hand, 515 F.3d at 358-59, 363-64; MX Grp., 293 F.3d at 329-31, 333-35).

       As far as its analysis of the ADA, then, the Eleventh Circuit in McCullum may

be off the mark in several respects. First, McCullum seems to conflate the ADA’s

various titles, and in the process does not consider potentially material linguistic and

structural differences among them. Likewise, McCullum’s use of case law bearing on

associational discrimination claims does not distinguish among the ADA’s titles, and

does not differentiate between organizations versus nondisabled individuals. Based

on these shortcomings, the Court declines to follow McCullum’s conclusions as to the

ADA.

       In the end, the text of Title II does not appear to make room for associational

discrimination claims. The regulation recognizing such claims, then, looks as if it

rests on a fragile foundation.

       However, in law—as in life—looks can be deceiving.

                                          ii.

       While Louisiana’s argument about the plain meaning of Title II is “strong,”

what “may seem plain when viewed in isolation” can become “untenable in light of

[the statute] as a whole.” King v. Burwell, 135 S. Ct. 2480, 2495 (2015) (internal

quotation marks omitted) (alteration in original). Such is the case here.

       That is because “Congress has instructed courts that ‘nothing in [the ADA]

shall be construed to apply a lesser standard than the standards applied under title

V [i.e., § 504] of the Rehabilitation Act . . . or the regulations issued by Federal

agencies pursuant to such title.’” Frame v. City of Arlington, 657 F.3d 215, 223-24


                                          23
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 24 of 51


(5th Cir. 2011) (en banc) (quoting 42 U.S.C. § 12201(a)) (alterations in original). Thus,

“the ADA actually prohibits courts from construing Title II to apply a lesser standard

than” § 504 and regulations promulgated to implement it. Id. at 228 (emphasis

added). If § 504 permits individual associational discrimination claims, then Title II

must also permit such claims, the plain text of Title II notwithstanding. 49 Cf. id.

(“Because the Rehabilitation Act regulations require new and altered facilities,

including sidewalks, to be accessible in most circumstances, our construction of [Title

II] requires no less.”).

       Currently, § 504’s regulations do not address the issue of discrimination by

association. 50 The Court will therefore focus only on the statutory text.

       Section 504 provides, in relevant part: “No otherwise qualified individual with

a disability in the United States . . . shall, solely by reason of her or his disability, be

excluded from the participation in, be denied the benefits of, or be subjected to

discrimination under any program or activity receiving Federal financial assistance .

. . .” 29 U.S.C. § 794(a). As used here, the phrase “individual with a disability”




49 Todd v. Carstarphen, 236 F. Supp. 3d 1311 (N.D. Ga. 2017), on which Louisiana so
heavily relies, does not acknowledge—let alone discuss—Congress’s instruction vis-
à-vis construction of the ADA. See 236 F. Supp. 3d at 1338-42.
50 On January 19, 2017, the Department of Justice proposed a regulation explicitly

recognizing the availability of associational discrimination claims under § 504. See
U.S. Dep’t of Justice, Notice of Proposed Rulemaking, Amendment of Regulations
Implementing Section 504 of the Rehabilitation Act of 1973—Nondiscrimination
Based on Disability in Federally Assisted Programs or Activities (Jan. 19, 2017),
https://www.federalregister.gov/documents/2017/01/19/2017-01057/amendment-of-
regulations-implementing-section-504-of-the-rehabilitation-act-of.    The proposed
regulation provides that “[a] recipient shall not exclude or otherwise deny aid,
benefits, or services of its program or activity to an individual because of that
individual’s relationship or association with an individual with a known disability.”
Id. The comment period ended March 20, 2017. Id.
                                            24
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 25 of 51


encompasses “any individual who has a physical or mental impairment which for

such individual constitutes or results in a substantial impediment to employment,”

among other things.      Id. § 705(20)(A)(i).   As with Title II’s nondiscrimination

provision, then, § 504’s nondiscrimination provision only proscribes discrimination

against “individual[s] with a disability.” Id. § 794(a); cf. 42 U.S.C. § 12132.

       Yet when it comes to its enforcement provision, § 504’s language appears

notably broader than Title II’s. Whereas Title II extends its “remedies, procedures,

and rights” to “any person alleging discrimination on the basis of disability in

violation of [Title II’s nondiscrimination provision],” 42 U.S.C. § 12133, § 504 makes

its “remedies, procedures, and rights . . . available to any person aggrieved by any act

or failure to act by any recipient of Federal assistance or Federal provider of such

assistance under [§ 504’s nondiscrimination provision],” 29 U.S.C. § 794a(a)(2)

(emphasis added). 51

       Thus, § 504’s enforcement provision does not limit relief to “qualified

individual[s] with a disability”—persons whose treatment by § 504-covered programs

and activities can violate § 504’s nondiscrimination provision. Id. § 794(a). Instead,

the enforcement provision extends relief to “any person” who is “aggrieved” by such a

violation. Id. § 794a(a)(2). Even the narrowest constructions of this language to be

endorsed by courts leave non-disabled individuals with room to bring associational

discrimination claims in certain circumstances. See Loeffler v. Staten Island Univ.




51“Courts have construed the phrase ‘any person aggrieved’ as an expression of
Congressional intent to accord standing to the fullest extent permitted by the case
and controversy provision of Article III.” Weber v. Cranston Sch. Comm., 212 F.3d
41, 48 (1st Cir. 2000.
                                           25
    Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 26 of 51


Hosp., 582 F.3d 268, 283-88 (2d Cir. 2009) (Jacobs, C.J., dissenting in part)

(interpreting the term “aggrieved” as used in § 504’s enforcement provision as

coterminous with the types of conduct proscribed by § 504’s nondiscrimination

provision); McCullum, 768 F.3d at 1143-45 (same); Bernius v. Ochsner Med. Ctr. –

North Shore, L.L.C., No. 16-14730, R. Doc. No. 33, at 8-14 (E.D. La. Dec. 15, 2016)

(Barbier, J.) (same); cf. Weber v. Cranston Sch. Comm., 212 F.3d 41, 47-49 (1st Cir.

2000) (concluding that a parent has standing under § 504 to sue in her individual

capacity for retaliation that she experienced while assisting her disabled child

vindicate his rights under federal law).

          As the Court previously discussed, § 504 sets a floor on the scope of protection

afforded by Title II. See Frame, 657 F.3d at 228 (explaining 42 U.S.C. § 12201(a)).

Given the fact that § 504 is sufficiently broad to permit at least some category of

individual associational discrimination claims, Title II must be read to permit the

same. As to the parameters of such Title II claims, however, the text of Title II is

silent.

                                             iii.

          Chevron instructs courts that “if the statute is silent or ambiguous with respect

to the specific issue, the question for the court is whether the agency’s answer is based

on a permissible construction of the statute.” 467 U.S. at 843; see also Frame, 657

F.3d at 224-25 (“When confronted with a statutory ambiguity, [courts] refer to the

responsible agency’s reasonable interpretation of that statute.”). In this case, the

Attorney General promulgated a regulation providing that “[a] public entity shall not

exclude or otherwise deny equal services, programs, or activities to an individual or


                                             26
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 27 of 51


entity because of the known disability of an individual with whom the individual or

entity is known to have a relationship or association.” 28 C.F.R. § 35:130(g).

       The Court concludes that the Attorney General’s interpretation of Title II, as

embodied in the relevant regulation, is reasonable. See Frame, 657 F.3d at 224-25.

The conduct proscribed by the regulation hews to the conduct proscribed by Title II’s

nondiscrimination provision itself. Compare 42 U.S.C. § 12132, with 28 C.F.R. §

35:130(g). This approach simply adapts the structure of Title I and III’s associational

discrimination claims to the Title II context. Compare 42 U.S.C. § 12112(b)(4) (Title

I), and id. § 12182(b)(1)(E) (Title III), with 28 C.F.R. § 35:130(g) (Title II).

       Such an approach is perfectly sensible.         Indeed, if the Attorney General

considered nontextual evidence when developing the regulation, such as Title II’s

legislative history—evidence that executive agencies may have greater flexibility to

access and evaluate than the federal courts—then the choice to craft a Title II

associational discrimination regulation that is consistent with Titles I and III’s

analogous proscriptions becomes more sensible still. 52 The Court concludes that the

regulation challenged by Louisiana is lawful and represents an authoritative

construction of Title II.

                                            v.

       One final note: “[a] Congress that intends the statute to be enforced through a

private cause of action intends the authoritative interpretation of the statute to be so




52See Nondiscrimination on the Basis of Disability in State and Local Government
Services, 56 Fed. Reg. at 35706 (explaining the scope of 28 C.F.R. § 35:130(g) in part
by reference to the legislative process leading up to Title II’s enactment).
                                            27
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 28 of 51


enforced as well.” Alexander v. Sandoval, 532 U.S. 275, 284 (2001). A regulation, “if

valid and reasonable, authoritatively construe[s] the statute itself.” Id.

      “[T]here is no question” that Title II, like § 504, is enforceable via an implied

private right of action. Frame, 657 F.3d at 224. There is also no question, then, that

nondisabled individuals like Lazaro have a private right to enforce the valid and

reasonable—and thus authoritative—Title II regulation proscribing associational

discrimination by public entities.

                                           C.

      However, Lazaro must not merely show that associational discrimination

claims are available under Title II. He must in fact state such a claim. The same

goes for analogous claims under § 504.

                                           i.

      The relevant Title II regulation provides that “[a] public entity shall not

exclude or otherwise deny equal services, programs, or activities to an individual or

entity because of the known disability of an individual with whom the individual or

entity is known to have a relationship or association.” 28 C.F.R. § 35:130(g). Thus,

in order to state a Title II associational discrimination claim, a plaintiff must allege,

in part, that he in fact suffered discrimination as defined in the regulation: either

exclusion from or denial of equal services, programs, or activities by a public entity.

      Lazaro alleges that he was “‘subjected to discrimination’ by [Louisiana] when

[Louisiana’s agents] forced him into the untenable role of attempting to interpret for

his son information which if misunderstood could (and did) result in his son’s loss of




                                           28
      Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 29 of 51


liberty.” 53 However, this allegation involves Nelson’s potential exclusion from or

denial of equal services, programs, or activities by Louisiana—not Lazaro’s.

         This is not a case, for example, in which a public entity “refuse[s] to allow a

theater company to use a school auditorium on the grounds that the company had

recently performed for an audience of individuals with HIV disease” or “refuses

admission to a person with cerebral palsy and his or her companions.”

Nondiscrimination on the Basis of Disability in State and Local Government Services,

56 Fed. Reg. 35694, 35706 (July 26, 1991) (explaining the type of conduct proscribed

by 28 C.F.R. § 35:130(g)). Instead, this is a case in which a public entity did not

provide an ASL interpreter to a deaf individual, and a non-deaf individual may have

suffered a derivative harm as a result. Such a harm, however, is not enough. Cf.

United States v. Nobel Learning Communities, Inc., No. 09-1818, 2010 WL 1047730,

at *4 (E.D. Pa. Mar. 24, 2010) (McLaughlin, J.) (concluding that Title III associational

discrimination claims require allegations that a plaintiff “experienced direct

discrimination because of his or her association with a disabled person” and that

allegations “premised on a derivative benefit or harm based on treatment towards a

disabled person” are insufficient). Louisiana’s use of Lazaro’s sign language skills to

communicate with Nelson simply did not exclude Lazaro from equal services,

programs, or activities, or deny him the same.

         Lazaro has not alleged that Louisiana discriminated against him within the

meaning of the applicable Title II regulation. Consequently, Lazaro has failed to

state a Title II associational discrimination claim against Louisiana.


53   R. Doc. No. 78, at 10; see also R. Doc. No. 69, ¶¶ 63-65.
                                             29
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 30 of 51


                                           ii.

       In addition to Title II, Lazaro also asserts an associational discrimination

claim under § 504. Two circuits have thus far considered what standard governs the

types of injuries required in order to state such a claim. They have reached different

results.

       The Second Circuit was the first circuit out of the gate. In Loeffler v. Staten

Island University Hospital, 582 F.3d 268 (2d Cir. 2009), two nondisabled plaintiffs

alleged that “they were compelled to provide sign language interpretation [to their

deaf father] for the [defendant] Hospital and were consequently taken out of school

and exposed to their father’s suffering.” 582 F.3d at 279-80 (Wesley, J., concurring

with Sand, J.).

       Two judges on the three-judge Loeffler panel concluded that these allegations

were   sufficient,   holding   that   “non-disabled   parties   bringing   associational

discrimination claims [under § 504] need only prove an independent injury causally

related to the denial of federally required services to the disabled persons with whom

the non-disabled plaintiffs are associated.” Id. at 279. In reaching this result, the

panel concluded that § 504’s enforcement provision “is distinct from the [§ 504]

provision prohibiting discriminatory conduct on the part of the recipient of federal

assistance.” Id. at 280 (discussing the relationship between 29 U.S.C. §§ 794(a) and

794a(a)(2)). Thus, in the panel’s view, the types of injuries cognizable under § 504’s

enforcement provision need not be limited to exclusion from participation in, denial

of the benefits of, or subjection to discrimination under a covered program or




                                           30
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 31 of 51


activity—the types of conduct prohibited under § 504’s nondiscrimination provision.

Id.; see also 29 U.S.C. § 794(a).

      The third judge on the panel, then-Chief Judge Jacobs, dissented from this

portion of the panel opinion, contending that the panel’s holding was inconsistent

with both applicable precedent and statutory text, as well as principles of judicial

prudence. See id. at 283-88 (Jacobs, C.J., dissenting in part). In particular, Chief

Judge Jacobs took issue with the panel’s refusal to interpret § 504’s enforcement

provision in light of its nondiscrimination provision. See id. at 284-87. To Chief

Judge Jacobs, courts had generally recognized associational discrimination claims

under § 504 only where nondisabled plaintiffs “were aggrieved in the same manner

and for the same reasons as an ‘otherwise qualified individual with a disability’ under

[§ 504’s nondiscrimination provision]: they were ‘excluded from the participation in,

[ ] denied the benefits of, or [ ] subjected to discrimination under any program or

activity receiving Federal financial assistance.’” Id. at 285 (quoting 29 U.S.C. §

794(a)) (emphasis and alterations in original). He then looked to the ADA’s treatment

of associational discrimination claims, observing that “[w]hen Congress enacted the

ADA, it [ ] clarified the standing requirement that associated persons be themselves

actually excluded or denied, and thereby unambiguously limited the breadth of ‘any

person aggrieved.’” Id. at 286.

      To Chief Judge Jacobs, the non-deaf plaintiffs in Loeffler “were never excluded

from participation, denied services, or subjected to discrimination.”      Id. at 285.

Rather, “[t]hey assisted their parents in coping with an alleged violation of [§ 504]

without themselves being denied services.” Id. While “[t]hey may well have been


                                          31
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 32 of 51


injured, forced to interpret for their parents, and made to miss school (among other

injuries),” Chief Judge Jacobs concluded that § 504 “does not confer standing on

account of these types of injuries.” Id.

      Chief Judge Jacobs also challenged the panel’s holding as nothing less than

illogical. In his view, the panel’s “wide interpretation of ‘any person aggrieved’ [in §

504’s enforcement provision] has no evident limiting principle, as can be illustrated

in the hospital context.” Id. at 287. He explained:

      Relatives and friends of patients routinely provide additional or
      complementary services to patients. Once a breach of duty is found
      under [§ 504], everybody and his mother (literally) will be able to submit
      a bill for services and injuries. A friend lifts a wheelchair up a few stairs
      when there is no ramp, and is injured; a relative prepares a gluten-free
      meal that a hospital lacks resources to provide, and thereby incurs
      expense, or gets burned on the stove; a sister stays up all night to cheer
      the patient and translate from Dutch as needed, and suffers the trauma
      of a flatlining.

      If [§ 504] supported all these claims flowing from an initial act of
      discrimination, a hospital’s liability would never end. And the hospital
      might have to pay twice or many times over for each service it failed to
      afford. If this were the law, [§ 504] would in that respect grant more
      extensive remedies to associated persons than to persons with
      disabilities themselves: only the disabled would actually have to be
      excluded, denied, or subjected to discrimination in order to recover
      damages.

Id. at 287. Lastly, Chief Judge Jacobs expressed concern that the panel’s broad

understanding    of   cognizable   injuries     would   inevitably   “create   intractable

administrative problems for judges and juries.” Id.

      Although Chief Judge Jacobs’ view did not carry the day in Loeffler, it later

persuaded the Eleventh Circuit in McCullum. See 768 F.3d at 1143-45. As in

Loeffler, McCullum involved hospitals relying on non-deaf plaintiffs to help

communicate with a deaf family member. See id. at 1138. Tracking Chief Judge

                                           32
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 33 of 51


Jacobs’ argument, the McCullum Court was of the opinion that § 504’s enforcement

provision should be interpreted in light of § 504’s nondiscrimination provision. Id. at

1144.    Section 504’s nondiscrimination provision only proscribes exclusion from

participation in, denial of the benefits of, or subjection to discrimination under a

covered program or activity. 29 U.S.C. § 794(a). Based on this enumeration, the

McCullum Court was convinced that a person is “aggrieved” under § 504’s

enforcement provision only where he experiences these types of conduct—nothing

more, nothing less. 768 F.3d at 1144. The McCullum Court then concluded that non-

deaf individuals are not “denied benefits when a hospital relies on them to help

interpret for a deaf patient.” 54 Id.

        Faced with this circuit split, another section of this Court sided with Chief

Judge Jacobs and the Eleventh Circuit. See Bernius v. Ochsner Med. Ctr. – North

Shore, L.L.C., No. 16-14730, R. Doc. No. 33, at 8-14 (E.D. La. Dec. 15, 2016) (Barbier,

J.). Notably, Judge Barbier pointed out that “[r]equiring personal exclusion, denial

of benefits, or personal discrimination”—in other words, requiring the types of

injuries enumerated in § 504’s nondiscrimination provision—“is consistent with the

ADA’s instruction that ‘nothing in [the ADA] shall be construed to apply a lesser

standard than the standards applied under’ Section 504.” Id. at 13 (quoting 42 U.S.C.

§ 12201(a)).




54 In reaching this conclusion with respect to § 504, the McCullum Court pointed to
Title II regulations that entitled disabled individuals “to appropriate benefits in the
form of accommodation,” but that “did not confer any corresponding benefit on non-
disabled persons.” Id. (citing 28 C.F.R. § 35.160(b)(1)).
                                          33
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 34 of 51


       After considering the statutory text and relevant case law, the Court likewise

endorses Chief Judge Jacobs’s interpretation of § 504. To walk the path forged by the

Loeffler panel “would result in the application of different standards for the ADA and

[§ 504]. Id. at 13-14. Indeed, that path would seem to result in the application of

more restrictive associational discrimination standards under the ADA’s titles than

under § 504. Compare 42 U.S.C. § 12112(b)(4) (Title I), 28 C.F.R. § 35:130(g) (Title

II), 42 U.S.C. § 12182(b)(1)(E) (Title III), with Loeffler, 582 F.3d at 279-80 (§ 504).

This is precisely the outcome forbidden by Congress. See 42 U.S.C. § 12201(a).

       As the Court previously indicated, Lazaro’s injury is that he was required to

interpret between his son and his son’s probation officer.   55   Such an injury is not

cognizable under § 504. 56 See McCullum, 768 F.3d at 1145; Bernius, R. Doc. No. 33,


55See R. Doc. No. 78, at 10; see also R. Doc. No. 69, ¶¶ 63-65.
56Lazaro argues that he qualifies as a “person aggrieved” under § 504’s enforcement
provision, because Louisiana allegedly violated two relevant regulations. See R. Doc.
No. 78, at 10. The first—28 C.F.R. § 35.160(c)(1)—provides that “[a] public entity
shall not require an individual with a disability to bring another individual to
interpret for him or her.” Relatedly, 28 C.F.R. § 35.160(c)(2) provides that “[a] public
entity shall not rely on an adult accompanying an individual with a disability to
interpret or facilitate communication except” in certain enumerated situations.
       These regulations were promulgated by the Attorney General to implement
Title II. See 28 C.F.R. § 35.101(a) (stating that the purpose of Part 35 is to implement
Title II’s nondiscrimination and enforcement provisions). They do nothing to alter
the standard—articulated in another regulation—governing Title II associational
discrimination claims: “[a] public entity shall not exclude or otherwise deny equal
services, programs, or activities to an individual or entity because of the known
disability of an individual with whom the individual or entity is known to have a
relationship or association.” Id. § 35:130(g). As the Court previously explained,
Lazaro does not meet this standard.
       The Court also points out that the two regulations identified by Lazaro
ultimately aim to protect individuals with disabilities, not nondisabled individuals.
See id. §§35.160(c)(1)-(3). Such a focus makes sense: after all, the purposes of the
ADA are “to provide a clear and comprehensive national mandate for the elimination
of discrimination against individuals with disabilities”; “to provide clear, strong,
consistent, enforceable standards addressing discrimination against individuals with
                                          34
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 35 of 51


at 14. Therefore, Lazaro has failed to state a § 504 associational discrimination claim

against Louisiana.

                                          V.

      Having determined “which aspects of [Louisiana’s] alleged conduct violated

Title II” for purposes of the Georgia analysis—namely, the decision by Nelson’s

probation officer not to secure a qualified ASL interpreter to attend her meetings with

Nelson—the Court must next consider “to what extent such misconduct also violated

the Fourteenth Amendment.” Hale, 642 F.3d at 498 (quoting Georgia, 546 U.S. at

159) (internal quotation marks omitted). If this conduct violated both Title II and the

Fourteenth Amendment, then Congress’s abrogation of Louisiana’s sovereign

immunity is unambiguously valid in this case. Id. As the Court previously stated, if

Louisiana’s alleged conduct violated only Title II, then the question of the

abrogation’s validity becomes more complicated. See id.

                                          A.

      Section 1 of the Fourteenth Amendment provides, in relevant part:

      No State shall make or enforce any law which shall abridge the
      privileges or immunities of citizens of the United States; nor shall any
      State deprive any person of life, liberty, or property, without due process
      of law; nor deny to any person within its jurisdiction the equal protection
      of the laws.




disabilities”; “to ensure that the Federal Government plays a central role in enforcing
the standards established in this chapter on behalf of individuals with disabilities”;
and “to invoke the sweep of congressional authority, including the power to enforce
the fourteenth amendment and to regulate commerce, in order to address the major
areas of discrimination faced day-to-day by people with disabilities.” 42 U.S.C. §
12101(b)(1)-(4) (emphasis added).
                                          35
      Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 36 of 51


As understood by the Supreme Court, this constitutional edict does not oblige states

“to make special accommodations for the disabled, so long as their actions toward

such individuals are rational.” Bd. of Trustees of the Univ. of Ala. v. Garrett, 531 U.S.

356, 367 (2001) (analyzing Cleburne v. Cleburne Living Ctr., Inc., 473 U.S. 432

(1985)). However, if state action towards the disabled “impermissibly interferes with

the exercise of a fundamental right,” then the action must withstand strict scrutiny—

not merely rational basis review. Mass. Bd. of Retirement v. Murgia, 427 U.S. 307,

312 (1976); see also A.M. ex rel. McAllum v. Cash, 585 F.3d 214, 226 (5th Cir. 2009)

(same).

         As a threshold matter, plaintiffs appear to argue Nelson’s probation officer

encroached on Nelson’s fundamental rights by not procuring a qualified interpreter

for her meetings with Nelson. According to plaintiffs, Louisiana’s conduct “greatly

impinged upon” Nelson’s “conditional liberty interest protected by the Constitution,”

because the lack of a qualified interpreter at Nelson’s meetings with his probation

officer “required [Nelson] to guess and hope that he [was] not violating a term of his

probation that he did not fully understand.” 57

         The Court does not question that due process protections “extend[ ] to

probation revocation proceedings” and that “[f]air warning of conduct that may result

in revocation is an integral part of due process in such situations.” United States v.

Gallo, 20 F.3d 7, 11 (1st Cir. 1994) (citing Gagnon v. Scarpelli, 411 U.S. 778, 782

(1973); United States v. Simmons, 812 F.2d 561, 565 (9th Cir. 1987)). Thus, Louisiana

has a constitutional obligation to reasonably instruct its probationers as to the


57   R. Doc. No. 86, at 6.
                                           36
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 37 of 51


conditions of their probation, and a failure to satisfy this obligation surely may

“impermissibly interfere[ ] with the exercise of a fundamental right.” Murgia, 427

U.S. at 312.

       Accepting the factual allegations in the complaint as true and construing them

in the light most favorable to plaintiffs, Louisiana fulfilled its obligation to Nelson.

Plaintiffs allege that Lazaro—Nelson’s father and a non-deaf individual—attended

the meeting between Nelson and his probation officer in which the officer explained

the terms and conditions of Nelson’s probation. 58 Plaintiffs also allege that Lazaro

interpreted between Nelson and his probation officer at the meeting. 59

       Although plaintiffs allege that Nelson and Lazaro both repeatedly requested

the presence of a qualified interpreter at this meeting, this allegation alone does not

demonstrate that the probation officer’s reliance on Lazaro’s interpretive services at

the meeting in any way amounted to impermissible interference with Nelson’s due

process right to fair warning of his probation conditions. 60 After all, no constitutional

rule bars a deaf individual’s relatives from providing interpretive services even in

criminal trials. See United States v. Ball, 988 F.2d 7 (5th Cir. 1993) (per curiam)

(noting that “[t]here is . . . no absolute bar against appointing a witness’ relative to

act as an interpreter [in a criminal proceeding] when circumstances warrant such an

appointment”).

       If Nelson and Lazaro did not feel comfortable with Lazaro acting as an

interpreter, then Lazaro simply could have refused to so act, at which point Nelson’s


58 R. Doc. No. 69, ¶¶ 32-34.
59 Id. ¶ 34.
60 Id.


                                           37
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 38 of 51


probation officer would have had to procure an alternative means to facilitate

effective communication between herself and Nelson 61 Indeed, at a later meeting

between Nelson and his probation officer, Lazaro allegedly did refuse to interpret.

Then, the probation officer indicated that she would in fact secure the presence of a

qualified interpreter at a rescheduled meeting. 62 Yet Lazaro then agreed to serve as

an interpreter. 63

       Further, plaintiffs allege that Nelson’s probation was revoked in one instance.

According to plaintiffs, Nelson enrolled in an in-patient drug treatment program in

California. 64 Judge Mentz “found that Nelson had committed a technical violation of

the conditions of his probation by leaving the state of Louisiana and ordered Nelson

to serve 90 days in the JPCC.” 65

       Plaintiffs allege that Nelson “was not aware that leaving [Louisiana] to attend

drug treatment as ordered by [Judge Mentz] was a violation of his probation,” because

Louisiana never provided a qualified interpreter “to explain the terms and conditions

of [p]robation to [Nelson] and [Lazaro] in American Sign Language.” 66 Yet in their




61 At one meeting attended only by Nelson and his probation officer, the probation
officer allegedly attempted to use written English to communicate with Nelson. Id.
¶ 52. When this method of communication proved unsuccessful, Nelson ended the
meeting. Id. Nelson’s probation officer then attempted to secure a qualified
interpreter for their next meeting. Id. ¶ 52. When she was unable to do so, she
proposed using the courtroom interpreter at Nelson’s next court appearance, which
involved an offense unrelated to his probation. Id. The Court sees no basis to
conclude that the probation officer’s use of a courtroom interpreter “impermissibly
interfere[d]” with any of Nelson’s fundamental rights. Murgia, 427 U.S. at 312.
62 R. Doc. No. 69, ¶ 57.
63 Id.
64 Id. ¶ 35.
65 Id. ¶ 39.
66 Id. ¶ 38.


                                          38
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 39 of 51


briefing, plaintiffs go out of their way to explain that they “have never argued that

Nelson’s incarceration as a result of the technical violation [of his probation]”—

namely, leaving Louisiana—“was due to a denial of due process.” 67 Plaintiffs also

concede that “Nelson knowingly and voluntarily pleaded guilty to the technical

violation of probation with adequate assistance of counsel and an interpreter in the

courtroom.” 68 If plaintiffs concede that “Nelson’s incarceration . . . was not due to a

denial of due process” and that he pleaded guilty “knowingly and voluntarily,” then

despite the allegations in the complaint, plaintiffs appear to concede that Nelson

received “[f]air warning of conduct that may result in revocation” in satisfaction of

due process. Gallo, 20 F.3d at 11.

       Moreover, plaintiffs’ allegations suggest that Nelson did not seek guidance

from his probation officer or any other Louisiana officer prior to leaving Louisiana to

enroll in a California-based in-patient drug treatment program. 69 Such an oversight

on Nelson’s part may preclude plaintiffs from arguing now that Nelson did not receive

fair warning that leaving Louisiana to receive drug treatment would violate his

probation conditions. Cf. United States v. Detraz, No. 99-30722, 2000 WL 959576, at

*1 (5th Cir. 2000) (per curiam) (“The Detrazes’ failure to seek court or probation office

guidance as to the permissibility of the hunting bars their claim to fair notice. No

one misled the Detrazes into going hunting; they simply decided to take their chances.

The clear terms of the conditions of probation barred any hunting.”).




67 R. Doc. No. 86, at 13.
68 Id.
69 R. Doc. No. 69, ¶¶ 36-37.


                                           39
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 40 of 51


       Lastly, Lazaro—Nelson’s father and a non-deaf individual—assisted Nelson in

securing enrollment in the in-patient drug treatment program in California. 70 Lazaro

participated in the meetings between Nelson and Nelson’s probation officer. 71

Indeed, he interpreted for Nelson and the probation officer. 72 Thus, Lazaro was privy

to the terms and conditions of Nelson’s probation, and the lack of a qualified

interpreter was not a barrier to his understanding of those terms and conditions. Any

misunderstanding about those terms and conditions, then—at least as far as they

concerned restrictions on leaving Louisiana—seem unrelated to the absence of a

qualified interpreter at Nelson’s meetings with his probation officer.

       In short, the Court sees no basis to conclude that Louisiana’s alleged conduct

“impermissibly interfere[d] with the exercise of a fundamental right” by Nelson.

Murgia, 427 U.S. at 312. The Court will therefore apply rational basis review to its

examination of Louisiana’s relevant conduct in this case.

                                          B.

       Under rational basis review, a state’s conduct does not violate the Fourteenth

Amendment if it is “rationally related to a legitimate state interest.” Kimel v. Fla.

Bd. of Regents, 528 U.S. 62, 83 (2000). Further, when challenging state action that

is subject only to rational basis review, “the burden is upon the challenging party to

negative any reasonably conceivable state of facts that could provide a rational basis

for the classification.” Garrett, 531 U.S. at 367 (quoting Heller v. Doe, 509 U.S. 312,




70 Id. ¶ 35.
71 See id. ¶¶ 33-34.
72 Id. ¶ 34.


                                          40
     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 41 of 51


320 (1993)) (internal quotation marks omitted). Plaintiffs have not satisfied that

burden. 73

       For example, Louisiana has a legitimate governmental interest in conserving

its financial resources. Cf. Garrett, 531 U.S. at 372 (observing that “it would be

entirely rational (and therefore constitutional) for a state employer to conserve scarce

financial resources by hiring employees who are able to use existing facilities”).

Moreover, Nelson’s probation officer’s refusal to provide a qualified interpreter to

attend her meetings with Nelson, where an alternative means to facilitate effective

communication between herself and Nelson was readily available—namely, Lazaro’s

interpretive services—is rationally related to promoting that interest.

       If the probation officer’s alleged conduct “impermissibly interfere[d] with the

exercise of [Nelson’s] fundamental right[s],” Murgia, 427 U.S. at 312, then “ordinary

considerations of cost and convenience alone” could not justify such conduct, Lane,

541 U.S. at 533-34. However, as the Court previously explained, the conduct at issue

in this case does not cross the threshold into impermissible interference.

       Louisiana’s approach to Nelson’s needs may seem “hardheaded[ ]” or even

“hardhearted[ ].” Garrett, 531 U.S. at 367-68. Nevertheless, it does not amount to a

violation of the Fourteenth Amendment.

                                          VI.

       The probation officer’s alleged conduct toward Nelson therefore violated Title

II for purposes of the Georgia analysis, but did not violate the Fourteenth


73In fact, plaintiffs appear to mistakenly assume that Louisiana bears the burden of
articulating a rational basis for its conduct. See R. Doc. No. 86, at 7 (“The State has
not even offered a rational basis for the unequal treatment of deaf probationers.”).
                                          41
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 42 of 51


Amendment. Hale, 642 F.3d at 498 (quoting Georgia, 546 U.S. at 159). As such, the

Court must consider one final question: “whether Congress’s purported abrogation of

sovereign immunity as to [this] class of conduct is nevertheless valid.” Id. (quoting

Georgia, 546 U.S. at 159) (internal quotation marks omitted).

                                           A.

      Section 5 of the Fourteenth Amendment grants Congress the power “to enforce,

by appropriate legislation, the provisions of” the amendment. In Katzenbach v.

Morgan, 384 U.S. 641 (1966), the Supreme Court linked the scope of this

constitutional language to Chief Justice Marshall’s classic formulation of the scope of

Congress’s Necessary and Proper Power in McCulloch v. Maryland, 17 U.S. (4

Wheat.) 316 (1819): “Let the end be legitimate, let it be within the scope of the

constitution, and all means which are appropriate, which are plainly adapted to that

end, which are not prohibited, but consist with the letter and spirit of the constitution,

are constitutional.” 384 U.S. at 650-51 (quoting McCulloch, 17 U.S. (4 Wheat.) at 421

(interpreting U.S. Const. art. I, § 8, cl. 18) and applying it to § 5) (internal quotation

marks omitted). Through the lens of McCulloch, the Morgan Court viewed § 5 as “a

positive grant of legislative power authorizing Congress to exercise its discretion in

determining whether and what legislation is needed to secure the guarantees of the

Fourteenth Amendment.” Id. at 651.

      Three decades later, however, the Supreme Court revised the metes and

bounds of congressional authority under § 5 in City of Boerne v. Flores, 521 U.S. 507

(1997):

      The design of the Amendment and the text of § 5 are inconsistent with
      the suggestion that Congress has the power to decree the substance of

                                           42
    Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 43 of 51


       the Fourteenth Amendment’s restrictions on the States. . . . Congress
       does not enforce a constitutional right by changing what the right is. It
       has been given the power “to enforce,” not the power to determine what
       constitutes a constitutional violation. Were it not so, what Congress
       would be enforcing would no longer be, in any meaningful sense, the
       “provisions of [the Fourteenth Amendment].”

       While the line between measures that remedy or prevent
       unconstitutional actions and measures that make a substantive change
       in the governing law is not easy to discern, and Congress must have wide
       latitude in determining where it lies, the distinction exists and must be
       observed. There must be a congruence and proportionality between the
       injury to be prevented or remedied and the means adopted to that end.

521 U.S. at 519-20 (emphasis added) (internal citation omitted) (alterations in

original).

       Worded differently, Boerne directs that “[t]he appropriateness of remedial

measures must be considered in light of the evil presented.” Id. at 530. What may

be appropriate prophylactic legislation under § 5 with respect to one class of state

conduct may be wholly unwarranted with respect to another. Id.

       Thus, Boerne’s “congruence and proportionality” test—as applied to Title I of

the ADA in Board of Trustees of the University of Alabama v. Garrett, 531 U.S. 356

(2001)—consists of three prongs. The first prong directs a court to “identify with some

precision the scope of the constitutional right at issue” in a given case, as defined by

relevant case law. Garrett, 531 U.S. at 365. Then, “hav[ing] determined the metes

and bounds of the constitutional right in question,” the second prong involves

considering   whether    Congress     documented     “a   history   and   pattern”    of

unconstitutional action impinging on that right. Id. at 368. For the third prong, the

court must determine whether Congress’s means to prevent or remedy state




                                          43
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 44 of 51


incursions on the right is appropriate—i.e., congruent and proportional—based on

Congress’s documentation. See id. at 372-74.

                                          B.

      Less than a decade after introducing Boerne’s “congruence and proportionality”

test into its Fourteenth Amendment jurisprudence, the Supreme Court applied the

test to Title II in Tennessee v. Lane, 541 U.S. 509 (2004). In Lane, two “paraplegics

who use wheelchairs for mobility” brought Title II claims against Tennessee, alleging

that it “denied [them] access to, and the services of, the state court system by reason

of their disabilities.” 541 U.S. at 513. Tennessee argued that Congress had not

validly abrogated state sovereign immunity under Title II. Id. at 514. The Lane

Court disagreed, concluding that “Title II, as it applies to the class of cases

implicating the fundamental right of access to the courts, constitutes a valid exercise

of Congress’ § 5 authority to enforce the guarantees of the Fourteenth Amendment.”

Id. at 533-34.

      According to Lane, “[t]he first step of the Boerne inquiry [is to] identify the

constitutional right or rights that Congress sought to enforce when it enacted Title

II.” Id. at 522. The Lane Court concluded that Congress enacted Title II to enforce

the constitutional prohibition on irrational disability discrimination, as well as “to

enforce a variety of other basic constitutional guarantees, infringements of which are

subject to more searching judicial review.” Id. “These rights include some, like the

right of access to the courts at issue in [Lane], that are protected by the Due Process

Clause of the Fourteenth Amendment.”




                                          44
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 45 of 51


       Second, Lane considered the “historical experience” reflected by Title II. Id. at

523. The Lane Court determined that “Congress enacted Title II against a backdrop

of pervasive unequal treatment in the administration of state services and programs,

including systematic deprivations of fundamental rights.” Id. at 524. This backdrop

was illustrated in part by federal and state case law, which “demonstrate[d] a pattern

of unconstitutional treatment in the administration of justice.” Id. at 525. Further,

“[t]his pattern of disability discrimination persisted despite several federal and state

legislative efforts to address it.” Id. at 526.

       The Lane Court went on to observe that, “[w]ith respect to the particular

services at issue in [Lane], Congress learned that many individuals, in many States

across the country, were being excluded from courthouses and court proceedings by

reason of their disabilities.” Id. at 527. Important for present purposes, the Lane

Court accepted as relevant the “numerous examples” of such exclusion documented

by Congress’s Task Force on the Rights and Empowerment of Americans with

Disabilities, including examples showing a “failure of state and local governments to

provide interpretive services for the hearing impaired.” Id. (citing Task Force on the

Rights and Empowerment of Americans with Disabilities, From ADA to

Empowerment (Oct. 12, 1990)).

       Ultimately, Lane accepted Congress’s finding, “set forth in the text of the ADA

itself,” that “discrimination against individuals with disabilities persists in such

critical areas as employment, housing, public accommodations, education,

transportation, communication, recreation, institutionalization, health services,

voting, and access to public services.” Id. at 529 (quoting 42 U.S.C. 12101(a)(3))


                                            45
   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 46 of 51


(internal quotation marks omitted) (emphasis in original) (alteration removed). “This

finding, together with the extensive record of disability discrimination that underlies

it, makes clear beyond peradventure that inadequate provision of public services and

access to public facilities was an appropriate subject for prophylactic legislation.” Id.

       Third and finally, Lane asked “whether Title II is an appropriate response to

this history and pattern of unequal treatment . . . as it applies to the class of cases

implicating the accessibility of judicial services.” Id. at 530-31. The Lane Court

answered this query in the affirmative:

       Congress’ chosen remedy for the pattern of exclusion and discrimination
       described above, Title II’s requirement of program accessibility, is
       congruent and proportional to its object of enforcing the right of access
       to the courts. The unequal treatment of disabled persons in the
       administration of judicial services has a long history, and has persisted
       despite several legislative efforts to remedy the problem of disability
       discrimination. Faced with considerable evidence of the shortcomings
       of previous legislative responses, Congress was justified in concluding
       that this “difficult and intractable proble[m]’ warranted ‘added
       prophylactic measures in response.”

Id. at 531 (quoting Nevada Dep’t of Human Resources v. Hibbs, 538 U.S. 721, 737

(2003)) (alteration in original).

                                           C.

       Post-Lane, circuits have split as to how Lane impacts the case-by-case

application of the Boerne test in the Title II context. Some circuits have read Lane to

streamline the relevant analysis under Boerne’s first two prongs, leaving only the

question whether Title II exhibits congruence and proportionality as it applies to the

class of cases implicating the particular right at issue in a given case. See Constantine

v. Rectors and Visitors of George Mason Univ., 411 F.3d 474, 486-90 (4th Cir. 2005)

(Shedd, J.); Klingler v. Director, Dep’t of Revenue, State of Missouri, 455 F.3d 888,

                                           46
    Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 47 of 51


896-97 (8th Cir. 2006) (Arnold, J.); Ass’n for Disabled Americans, Inc. v. Fla. Int’l

Univ., 405 F.3d 954, 957-59 (11th Cir. 2005) (Kravitch, J.); see also McCarthy ex rel.

Travis v. Hawkins, 381 F.3d 407, 423-26 (5th Cir. 2004) (Garza, J., concurring in part

and dissenting in part). This interpretation of Lane still involves a determination as

to whether the right at issue was one that Congress sought to enforce when it enacted

Title II. See, e.g., Constantine, 411 F.3d at 486-87. What it does not involve, however,

is an extensive inquiry into Title II’s legislative record in every case involving the

validity of Title II’s abrogation. See, e.g., id. at 487.

       Other circuits have read Lane more narrowly. These circuits have continued

to require courts to proceed through each step of the Boerne inquiry where Congress’s

purported abrogation of State sovereign immunity under Title II is at issue, including

a deep dive into Title II’s legislative record. See Toledo v. Sanchez, 454 F.3d 24, 34-

35 (1st Cir. 2006) (observing that “[s]ome appellate courts have chosen to interpret .

. . Lane as conclusively establishing that Title II survives the first two steps of the

City of Boerne inquiry,” but determining that “the sounder approach is to focus the

entire City of Boerne test on the particular category of state conduct at issue.”);

Guttman v. Khalsa, 669 F.3d 1101, 1117-18 (10th Cir. 2012) (Tymkovich, J.) (same).

       Both of these views find support in Lane’s language. See Lane, 541 U.S. at

522-34. For its part, however, the Court concludes that the former view—which most

circuits to have considered the issue have adopted—offers the more sound reading of

Lane. This reading appears to best respect Lane’s comprehensive analysis of Title

II’s constitutional concerns and supporting history. Moreover, it appears to best




                                             47
    Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 48 of 51


reconcile that analysis with its instruction to conduct a case-by-case inquiry into Title

II’s validity as § 5 legislation.

       Thus, a court tasked with determining whether Title II validly abrogates state

sovereign immunity in a given case must first ask whether the state’s action in the

case implicates a constitutional right within the universe of rights identified by the

Lane Court—namely, rights grounded in the Fourteenth Amendment’s Equal

Protection and Due Process Clauses. See id. at 522-23 (determining that Title II

“seeks to enforce th[e] prohibition on irrational disability discrimination” and “other

basic constitutional guarantees, infringements of which are subject to more searching

judicial review”).    If no, then Title II does not validly abrogate state sovereign

immunity. If yes, then “the sheer volume of evidence demonstrating the nature and

extent of unconstitutional discrimination against persons with disabilities in the

provision of public services” supports Congress’s enactment of Title II as prophylactic

legislation to enforce that right. Id. at 528-29. A court then need only ask whether

Title II is congruent and proportional as to the class of cases implicating the right.

                                           D.

       First, like the constitutional right implicated in Lane, the constitutional right

implicated by Nelson’s probation officer’s conduct in this case is grounded in due

process: the right to “[f]air warning of conduct that may result in revocation” of

probation, which “is an integral part of due process in such situations.” Gallo, 20




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     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 49 of 51


F.3d at 11. This due process right is within the universe of rights identified by the

Lane Court. 74 See Lane, 541 U.S. at 522-23.

       The Court must now consider whether Title II is congruent and proportional

as it applies to the class of cases implicating the due process right to fair notice of

probation conditions. Lane held that “Title II unquestionably is valid § 5 legislation

as it applies to the class of cases implicating the accessibility of judicial services.” Id.

at 531. While Lane itself concerned physical access to the courts, the Court sees no

reason why that holding is not equally applicable in this case. A state has a due

process obligation to provide a probationer with fair warning of probation conditions,

and a state’s failure to provide adequate interpretive services to deaf probationers

runs a real danger of breaching that obligation. 75

       As the Lane Court opined, “[t]he unequal treatment of disabled persons in the

administration of judicial services has a long history, and has persisted despite

several legislative efforts to remedy the problem of disability discrimination.” Id. at

531.   Congress was thus justified in prescribing a strong medicine to treat the

problem. Id.




74 Thus, the Court need not dive into the history of discrimination undergirding Title
II. The Lane Court already concluded that “inadequate provision of public services
[to] and access to public facilities [by individuals with disabilities] was an appropriate
subject for prophylactic legislation.” Lane, 541 U.S. at 529.
       That being said, the Court points out Lane’s observation that Congress’s
appointed task force to research disability discrimination across America documented
a “failure of state and local governments to provide interpretive services for the
hearing impaired.” Id. at 527. Such a failure undoubtedly has significant
implications for deaf probationers’ due process rights, including the right to
reasonable notice of probation conditions.
75 Louisiana wholly overlooks the applicability of Lane’s holding to this case. See R.

Doc. No. 85, at 5-8.
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     Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 50 of 51


       While strong, however, this medicine does not mandate that a state provide

deaf individuals with any particular interpretive service in a given instance. “Title

II does not require States to employ any and all means to make judicial services

accessible to persons with disabilities.” Id. at 531-32. Rather, Title II requires

“reasonable modifications to rules, policies, or practices, the removal of architectural,

communication, or transportation barriers, or the provision of auxiliary aids and

services.” 42 U.S.C. §12131(2).

       With respect to auxiliary aids and services, Title II’s implementing regulations

require public entities to “give primary consideration to the requests of individuals

with disabilities.” 28 C.F.R. § 35.160(b)(2). However, public entities need not honor

those requests in all instances. Rather, the regulations recognize that “[t]he type of

auxiliary aid or service necessary to ensure effective communication will vary in

accordance with the method of communication used by the individual; the nature,

length, and complexity of the communication involved; and the context in which the

communication is taking place.” Id. Public entities have flexibility in how they fulfill

their Title II obligations. 76

       As far as this case is concerned, then, Title II is “a reasonable prophylactic

measure, reasonably targeted to a legitimate end.”        Id. at 533.    It exhibits the

requisite congruence and proportionality in the class of cases implicating the right to


76 Louisiana complains that “plaintiffs’ claims [ ] fail because there is a lack of
proportionality and congruence between the alleged wrong and the proposed remedy.”
Id. at 6. The problem with Louisiana’s argument is that it focuses on plaintiffs’
proposed remedy, not Congress’s. See id. at 6-8. In other words, what plaintiffs
believe should have been done, and what Title II requires to be done, are not
necessarily identical. The Court’s inquiry into the validity of Title II’s application
against a state in a given case focuses on the latter, not the former.
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   Case 2:16-cv-14003-LMA-KWR Document 131 Filed 11/21/17 Page 51 of 51


fair warning of probation conditions. Louisiana’s alleged failure to live up to Title II

will not shield it from plaintiffs’ Title II claim on behalf of Nelson.

                                           VII.

       Surfacing at long last from the jurisprudential deep, the contours of this case

become clear. For the foregoing reasons,

       IT IS ORDERED that Louisiana’s motion for judgment on the pleadings is

GRANTED, and all of Lazaro’s claims against Louisiana are DISMISSED WITH

PREJUDICE.

       IT IS FURTHER ORDERED that Louisiana’s motion to dismiss plaintiffs’

Title II claims for lack of subject matter jurisdiction is DENIED.



       New Orleans, Louisiana, November 21, 2017.



                                             _______________________________________
                                                       LANCE M. AFRICK
                                              UNITED STATES DISTRICT JUDGE




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